Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 1 of 52 Page ID #:190



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  9                         UNITED STATES DISTRICT COURT
 10                       CENTRAL DISTRICT OF CALIFORNIA
 11
 12                                         Case No. 8:22-cv-02290-JWH-JDE
       JIM GRAMSTAD and AISAN
 13    ROUHANINIA ATHARI, individually
 14    and as representatives of a Putative     FIRST AMENDED CLASS ACTION
       Class of Participants and Beneficiaries, COMPLAINT
 15    on behalf of all similarly situated
 16    participants and beneficiaries on behalf
       of the VENTURA FOODS, LLC
 17    PROFIT SHARING 401(K) PLAN,
 18
                   Plaintiff,
 19
 20         v.
 21    VENTURA FOODS, LLC and DOES 1
 22    through 10,
 23                Defendants.
 24
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                                      -i-
      FIRST AMENDED CLASS ACTION COMPLAINT             Case No: 8:22-cv-02290-JWH-JDE
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 2 of 52 Page ID #:191



  1                                TABLE OF CONTENTS
  2   INTRODUCTION ……………………………………………...………..………….1
  3   JURISDICTION AND VENUE………………………...……..……………….……3
  4   THE PARTIES…………………………………………………..…..…………........4
  5      Plaintiffs……….……...…………………………………….…..……………….4
  6      Defendants……………......………………………………………..…………… 5
  7   DEFENDANTS’ FIDUCIARY OBLIGATIONS….………….……...……………. 6
  8   DEFINED CONTRIBUTION 401(K) PLANS AND IMPACT OF EXCESSIVE
  9   FEES……………….…………………………………………………………........... 8
 10   THE ESTABLISHMENT OF THE TRUST AND THE DOCUMENTS RELIED
 11   UPON FOR THE COMPLAINT’S ALLEGATIONS………………………..….…. 9
 12   FACTUAL ALLEGATIONS……………………………...……………….............10
 13          A.    Defendants Paid Transamerica and Gallagher and other Covered
 14                Service Providers Unreasonable Fees, Failed to Monitor their Covered
 15                Service Providers, and make Requests for Proposals from Other
 16                Covered Service Providers……...…...................................................10
 17          B.    Defendants Caused the Plan Participants to Pay Excessive Fees and
 18                Lose Returns by Failing to Offer, Monitor, and Investigate Available
 19                Lower Cost Mutual Share Classes as Plan Investment Options.….....18
 20          C.    Defendants Maintained Imprudent Funds that Fell Below the
 21                Reasonable Standard of Care and Which Lagged in Benchmark
 22                Comparisons…………………………………………………………29
 23          D.    Defendants Imprudently Maintained the Plan’s Investment in the
 24                Prudential Guaranteed Income Stable Value Fund, When Other
 25                Investment Vendors Offered Superior Alternatives………………....36
 26                1. Prudential’s Excessive Spread Fees………………………......…38
 27                2. Failure to Submit RFP’s…………………………………………40
 28                3. Failure to Diversify…………………………………………..….40
                                      -ii-
      FIRST AMENDED CLASS ACTION COMPLAINT                        Case No: 8:22-cv-02290-JWH-JDE
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 3 of 52 Page ID #:192



  1   CLASS ACTION ALLEGATIONS……………............…….………………….....42
  2   FIRST CAUSE OF ACTION Breach of Fiduciary Duty of Prudence (Against All
  3   Defendants)………………………………………………………………………....43
  4   SECOND CAUSE OF ACTION Breach of Fiduciary Duties in Violation of Duty to
  5   Investigate and Monitor Investments and Covered Service Providers (Against All
  6   Defendants)……..…………………………..…………………………………..…..46
  7   PRAYER FOR RELIEF…………………………………………………....…..…..47
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                      -iii-
      FIRST AMENDED CLASS ACTION COMPLAINT                Case No: 8:22-cv-02290-JWH-JDE
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 4 of 52 Page ID #:193



  1         Plaintiff Jim Gramstad and Aisan Rouhaninia Athari (“Plaintiffs”),
  2   individually and as a representative of participants and beneficiaries of the
  3   VENTURA FOODS, LLC PROFIT SHARING 401(K) PLAN, (the “Plan”), brings
  4   this action under the Employee Retirement Income Security Act of 1974, as
  5   amended (“ERISA”, 29 U.S.C. §§ 1001 et seq., on behalf of the Plan against current
  6   Plan sponsor, VENTURA FOODS, LLC and John Does 1-10 (collectively the
  7   “Defendants”), for breaching their fiduciary duties in the management, operation
  8   and administration of the Plan.
  9                                     INTRODUCTION
 10         1.     This action is brought by current and former employees / participants /
 11   beneficiaries of Defendants’ Plan to recover losses due to mismanagement of the
 12   401k retirement plan and certain selected funds. The 401k plan has become the
 13   dominant source of retirement savings for most Americans. Unlike defined-benefit
 14   pensions, which provide set payouts for life, 401(k) accounts rise and fall with
 15   financial markets, and therefore, the proliferation of 401(k) plans has exposed
 16   workers to big drops in the stock market and high fees from Wall Street money
 17   managers. This action is filed to recover funds owed back to the plan on behalf of
 18   employees / participants / beneficiaries. These retirement funds are significant to the
 19   welfare of the class.
 20         2.     Federal law affords employers the privilege of enticing and retaining
 21   employees by setting up retirement and defined contribution plans pursuant to 26
 22   U.S.C. § 401 (“401(k) plans). These plans provide employees investment options
 23   with tax benefits that inure to the benefits of the employees and, necessarily, to the
 24   employers by increasing the “net” compensation their employees receive via tax
 25   deferment. To enjoy this benefit, employers must follow the rules and standards
 26   proscribed by the Employee Retirement Income Security Act of 1974, 29 U.S.C. §
 27   1001, et seq. (“ERISA”).
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                                           -1-
                          FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 5 of 52 Page ID #:194



  1         3.     The Defendants chose to accept the benefits of federal and state tax
  2   deferrals for their employees via a 401(k) plan, and the owners and executives of
  3   Defendant organizations have benefitted financially for years from the same tax
  4   benefits. However, Defendants have not followed ERISA’s standard of care. This
  5   lawsuit is filed after careful consultation with experts and review of publicly
  6   available documents to return benefits taken from Plan participants by Defendants.
  7         4.     The Plan at issue is a defined contribution retirement plan or a 401(k)
  8   plan, established pursuant to 29 U.S.C. § 1002(2)(A) and § 1002(34) of ERISA, that
  9   enables eligible participants to make tax-deferred contributions from their salaries to
 10   the Plan. As of December 31, 2021, the Plan had 2,954 total participants and
 11   $322,701,158 in assets.
 12         5.     ERISA imposes strict fiduciary duties of prudence and loyalty on
 13   covered retirement plan fiduciaries. An ERISA fiduciary must discharge his
 14   responsibility “with the care, skill, prudence, and diligence” that a prudent person
 15   “acting in a like capacity and familiar with such matters” would use. 29 U.S.C. §
 16   1104(a)(1). A plan fiduciary must act “solely in the interest of [plan] participants
 17   and beneficiaries.” Id. A fiduciary’s duties include “defraying reasonable expenses
 18   of administering the plan,” 29 U.S.C. § 1104(a)(1)(A)(ii), and a continuing duty to
 19   monitor investments and remove imprudent ones. Tibble v. Edison Int’l, 135 S. Ct.
 20   1823, 1829 (2015).
 21         6.     Specifically, Defendants breached their fiduciary duties of prudence and
 22   loyalty to the Plan by:
 23      a. Overpaying for Covered Service Providers by paying variable direct and
            indirect compensation fees through revenue sharing arrangements with the
 24
            funds offered as investment options under the Plan, which exceeded costs
 25         incurred by plans of similar size with similar services and which were in
            excess of and not tethered to the services provided;
 26
 27      b. Offering and maintaining funds with higher-cost share classes when
            identical lower cost class shares were available and could have been offered
 28         to participants resulting in participants/beneficiaries paying unnecessary
                                            -2-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 6 of 52 Page ID #:195



  1         costs for services that provided no value to them and resulted in a reduction
            of compounded return gains;
  2
         c. Retaining and Offering poorly performing funds within the Plan which
  3         failed to meet or exceed industry standard benchmarks including
  4         Morningstar category indices and best fit indices as determined by
            Morningstar.
  5
  6      d. Deprived participants of compounded returns through the excessive costs
            and investment in expensive underperforming funds;
  7
         and
  8
  9      e. Failing to maintain and restore trust assets.

 10         7.       Plaintiffs were injured during the Relevant Time Period by the
 11   Defendants’ flawed processes in breach of their fiduciary duties. As a result of
 12   Defendant’s actions, participants invested in subpar investment vehicles and paid
 13   additional unnecessary operating expenses and fees with no value to the participants
 14   and resulting in a loss of compounded returns.
 15         8.       Plaintiffs, individually and as representatives of a putative class
 16   consisting of the Plan’s participants and beneficiaries, brings this action on behalf of
 17   the Plan under 29 U.S.C. §§ 1132(a)(2) and (3) to enforce Defendants’ liability under
 18   29 U.S.C. § 1109(a), to make good to the Plan all losses resulting from their breaches
 19   of fiduciary duties, and to restore to the Plan any lost profits. In addition, Plaintiffs
 20   seek to reform the Plan to comply with ERISA and to prevent further breaches of
 21   fiduciary duties and grant other equitable and remedial relief as the Court may deem
 22   appropriate.
 23                                 JURISDICTION AND VENUE
 24         9.       Plaintiffs brings this action pursuant to 29 U.S.C. § 1132(a), which
 25   provides that participants or beneficiaries in an employee retirement plan may pursue
 26   a civil action on behalf of the plan to remedy breaches of fiduciary duty and other
 27   violations of ERISA for monetary and appropriate equitable relief.
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                                            -3-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 7 of 52 Page ID #:196



  1         10.      This Court has jurisdiction over the subject matter of this action
  2   pursuant to 28 U.S.C. § 1331, because it is a civil action arising under the laws of the
  3   United States, and exclusive jurisdiction under ERISA § 502(e)(1), 29 U.S.C.
  4   §1132(e)(1).
  5         11.      This Court has personal jurisdiction over Defendants because they
  6   transact business in this District, reside in this District, and/or have significant
  7   contacts with this District, Plaintiff resides and was employed in this District, and
  8   because ERISA provides for nationwide service of process.
  9         12.      Venue is proper in this District pursuant to ERISA § 502(e)(2), 29
 10   U.S.C. § 1132(e)(2), because the Plan is administered in this District, many
 11   violations of ERISA took place in this District, and Defendants conduct business in
 12   this District. Venue is also proper in this District pursuant to 28 U.S.C. § 1391(b)
 13   because Plaintiff was employed in this District and a substantial part of the events or
 14   omissions giving rise to the claims asserted herein occurred within this District.
 15                                        THE PARTIES
 16   Plaintiffs
 17         13.        Plaintiff Jim Gramstad resides in Fullerton, CA and is an employee of
 18   Ventura Foods, LLC and worked for Ventura Foods, LLC in this district. Gramstad
 19   was a participant in the Plan under 29 U.S.C. § 1002(7) during the Relevant Time
 20   Period and upon information and belief invested in some or all of the funds which
 21   are at issue in this action. As a direct and proximate result of breaches of fiduciary
 22   duties described herein, the Plan, the Participants, and members of the putative class
 23   suffered substantial losses and legal damages in the form of higher fees and lower
 24   returns on their investments than they would have otherwise experienced due to
 25   investment in the Plan and Plan wide-misconduct. Gramstad was damaged by the
 26   Defendants’ breaches of their fiduciary duties which impacted the Plan as a whole
 27   and damaged all Plan participants.
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                                            -4-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 8 of 52 Page ID #:197



  1         14.    Plaintiff Athari resides in Pomona, CA and was an employee of Ventura
  2   Foods, LLC and worked for Ventura Foods, LLC in this district. Athari is current
  3   participant, and has been a participant in the Plan under 29 U.S.C. § 1002(7) during
  4   the Relevant Time Period and upon information and belief invested in some or all of
  5   the funds which are at issue in this action As a direct and proximate result of
  6   breaches of fiduciary duties described herein, the Plan, the Participants, and
  7   members of the putative class suffered substantial losses and legal damages in the
  8   form of higher fees and lower returns on their investments than they would have
  9   otherwise experienced due to investment in the Plan and Plan wide-misconduct.
 10   Athari was damaged by the Defendants’ breaches of their fiduciary duties which
 11   impacted the Plan as a whole and damaged all Plan participants.
 12         15.    Plaintiffs Gramstad and Athari have standing under 29 U.S.C. §
 13   1132(a)(2) to bring this action on behalf of the Plan because Defendants’ reckless
 14   and insouciant actions caused actual harm to an ERISA plan in which the Plaintiff
 15   participates. Plaintiff suffered an injury in fact by, inter alia, being forced to pay
 16   excessive fees to Fund service providers, investing in higher cost mutual fund shares
 17   when lower cost shares of the same fund were available to the Plan, being offered
 18   funds which failed to perform at or above their benchmarks, and being deprived of a
 19   high quality and secure stable value investment option. Defendants are liable to the
 20   Plan for the Plan’s losses under 29 U.S.C. § 1109(a).
 21   Defendants
 22         16.    Defendant Ventura Foods, LLC (“Ventura Foods”) is the current
 23   sponsor of the Plan and maintains its principal place of business at 40 Pointe Drive,
 24   Brea, CA 92821. Ventura Foods is registered with the State of California, and upon
 25   information and belief, operates as a sponsor and administrator and/or fiduciary of
 26   the Plan.
 27         17.    Defendant “Does” or the names of the individuals on the Board of
 28   Directors and related Committee(s), including the Plan’s Investment Committee, if
                                          -5-
                         FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 9 of 52 Page ID #:198



  1   such committee exists, as well as the Plan’s manager, and Ventura Foods’s officers
  2   during the Relevant Time Period are unknown at this time and are named as “John
  3   Does” until the “Does” are known and can be named through amendment to this
  4   Complaint.
  5         18.      Ventura Foods, the Board of Directors, the Plan Investment
  6   Committee, the Plan’s manager, and the Directors and Officers are fiduciaries to the
  7   Plan under 29 U.S.C. § 1002(21)(A)(i) and (iii) because they have sole authority to
  8   amend or terminate, in whole or part, the Plan or the trust, and have discretionary
  9   authority to control the operation, management and administration of the Plan,
 10   including the selection and compensation of the providers of administrative services
 11   to the Plan and the selection, monitoring, and removal of the investment options
 12   made available to participants for the investment of their contributions and provision
 13   of their retirement income.
 14         19.    The Plan is in the top 100 of plans in Orange County. Based on average
 15   account balances, Plaintiffs and the putative class have average accounts of over
 16   $100,000 which is over two times larger than participants across the USA.
 17         20.    Finally, although not named as a Defendants at this time, certain service
 18   providers are relevant parties to this Litigation.
 19         21.    Ventura     Foods     contracted    with   Gallagher    Benefit    Services
 20   (“Gallagher”), to serve as the Plan’s Investment Advisor.
 21         22.    Ventura Foods contracted with Transamerica Retirement Solutions
 22   (“Transamerica”), to serve as the Plan’s recordkeeper. Transamerica served as the
 23   Plan’s recordkeeper during the relevant time period based on Schedules C certified
 24   returns filed by Ventura Foods.
 25         23.    Ventura Foods contracted with State Street Bank and Trust Company
 26   (“State Street”) to serve as Trustee. In this capacity, State Street received and held
 27   the assets of the Fund on behalf of the Participants and Beneficiaries.
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                                            -6-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 10 of 52 Page ID #:199



   1         24.    Ventura Foods had a concomitant fiduciary duty to monitor and
   2   supervise those appointees and contracted parties.
   3                    DEFENDANTS’ FIDUCIARY OBLIGATIONS
   4         25.    ERISA and common law trusts imposes strict fiduciary duties of loyalty
   5   and prudence upon Defendants as Plan fiduciaries. 29 U.S.C. §1104(a)(1)(A)
   6   requires a plan fiduciary to “discharge his duties with respect to a plan solely in the
   7   interest of the participants and beneficiaries” for the “exclusive purpose of (i)
   8   providing benefits to participants and their beneficiaries; and (ii) defraying
   9   reasonable expenses of administering the plan.”
  10         26.    29 U.S.C. § 1104(a)(1)(B) and common law require a plan fiduciary to
  11   discharge his obligations “with the care, skill, prudence, and diligence under the
  12   circumstances then prevailing that a prudent man acting in a like capacity and
  13   familiar with such matters would use in the conduct of an enterprise of like character
  14   and with like aims.”
  15         27.    A fiduciary’s duties include a continuing duty to monitor investments
  16   and remove imprudent ones. Tibble v. Edison Int’l, 135 S. Ct. at 1829.
  17         28.    29 U.S.C. § 1106(a)(1)(C) and § 1108(b)(2) and the common law allow
  18   a fiduciary of an employee benefit plan to enter into an agreement with a party in
  19   interest for the provision of administrative services such as recordkeeping to the Plan
  20   “if no more than reasonable compensation is paid therefor.” Gallagher and
  21   Transamerica are “parties in interest” under 29 U.S.C. § 1106(a)(1)(C).
  22         29.    29 U.S.C. § 1132(a)(2) and common law authorizes a plan participant to
  23   bring a civil action to enforce a breaching fiduciary’s liability to the plan under 29
  24   U.S.C. § 1109.
  25         30.    Section 1109(a) and common law provide “[a]ny person who is a
  26   fiduciary with respect to a plan who breaches any of the responsibilities, obligations,
  27   or duties imposed upon fiduciaries by this subchapter shall be personally liable to
  28   make good to such plan any losses to the plan resulting from each such breach.”
                                            -7-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 11 of 52 Page ID #:200



   1   “One appropriate remedy in cases of breach of fiduciary duty is the restoration of the
   2   trust beneficiaries to the position they would have occupied but for the breach of
   3   trust.” Restatement (Second) of Trusts § 205(c) (1959).
   4                     DEFINED CONTRIBUTION 401(K) PLANS
   5                     AND THE IMPACT OF EXCESSIVE FEES
   6         31.    In a defined contribution plan, participants (and sometimes their
   7   employer) make contributions to plan participant’s individual accounts. Participants’
   8   retirement benefits are limited to the value of their own individual accounts, which is
   9   determined solely by employee and employer contributions plus any investment
  10   gains less plan and investment expenses. See 29 U.S.C. § 1002(34). Plan
  11   Participants’ investments are held in trust. Typically, plan participants direct the
  12   investment of their accounts, choosing from the lineup of plan investment options
  13   chosen by the plan sponsor.
  14         32.    Because retirement savings in defined contribution plans are intended to
  15   grow and compound over the course of the employee participants’ careers, poor
  16   investment performance and excessive fees can dramatically reduce the amount of
  17   benefits available when the participant is ready to retire. Over time, even small
  18   differences in fees and performance compound which can result in vast differences
  19   in the amount of savings available at retirement. As the Supreme Court explained,
  20   “[e]xpenses, such as management or administrative fees, can sometimes significantly
  21   reduce the value of an account in a defined-contribution plan.” Tibble v. Edison Int’l,
  22   135 S. Ct. at 1825. In short, the damages caused by breaches of fiduciary duties to
  23   the Plan cause damages that continue to accrue and compound over time.
  24         33.    In fact, the impact of excessive fees on employees’ and retirees’
  25   retirement assets is dramatic. The U.S. Department of Labor has noted that a 1%
  26   higher level of fees over a 35-year period makes a 28% difference in retirement
  27
  28
                                            -8-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 12 of 52 Page ID #:201



   1   assets at the end of a participant’s career. U.S. Dep’t of Labor, A Look at 401(k)
   2   Plan Fees, at 1–2 (Aug. 2013). 1
   3         34.    As a simple example, if a beneficiary invested $10,000, the investment
   4   grew at a rate of 7% a year for 40 years, and the fund charged 1% in fees each year,
   5   at the end of the 40-year period the beneficiary’s investment would be worth
   6   $100,175. If the fees were raised to 1.18%, or 1.4%, the value of the investment at
   7   the end of the 40-year period would decrease to $93,142 and $85,198, respectively.
   8   Beneficiaries subject to higher fees for materially identical funds lose not only the
   9   money spent on higher fees, but also “lost investment opportunity”; that is, the
  10   money that the portion of their investment spent on unnecessary fees would have
  11   earned over time.
  12         35.    Accordingly, courts have recognized that plan fiduciaries “cannot
  13   ignore the power the trust wields to obtain favorable investment products,
  14   particularly when those products are substantially identical—other than their lower
  15   cost—to products the trustee has already selected.” Tibble v. Edison International,
  16   843 F.3d 1187, 1198 (9th Cir. 2016).
  17         36.    The marketplace for retirement plan services is established and
  18   competitive. As of December 31, 2021, the Plan had 2,954 active participants and
  19   $322,701,158 in assets. As a result, the Plan has the tremendous bargaining power to
  20   demand low-cost administrative and investment management services and well-
  21   performing, low-cost investment funds.
  22        THE ESTABLISHMENT OF THE TRUST AND THE DOCUMENTS
  23            RELIED UPON FOR THE COMPLAINT’S ALLEGATIONS
  24         37.    Defendants’ Annual Returns/Reports of Employee Benefit Plan to the
  25   U.S. Departments of Treasury and Labor (“Forms 5500” which are “Open to Public
  26
  27   1
        https://www.dol.gov/sites/default/files/ebsa/about-ebsa/our-
  28   activities/resourcecenter/publications/401kFeesEmployee.pdf

                                            -9-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 13 of 52 Page ID #:202



   1   Inspection” and available for download from www.efast.dol.gov for forms filed in
   2   2010 and onward).
   3           38.   Plaintiff also requested Defendants Plan governing documents and this
   4   Complaint is based in part on the limited documents provided by Defendants.
   5           39.   The underlying allegations in this Complaint are based on Plaintiff’s
   6   documents as well as the Defendants’ past Forms 5500 filed with U.S. Departments
   7   of Treasury and Labor found at www.efast.dol.gov, and mutual fund prospectuses
   8   found at https://www.sec.gov/edgar/searchedgar.
   9                              FACTUAL ALLEGATIONS
  10   A.      Defendants Paid Transamerica and Gallagher and other Covered
               Service Providers Unreasonable Fees, Failed to Monitor their Covered
  11
               Service Providers, and make Requests for Proposals from Other
  12           Covered Service Providers
  13           40.   Defendants have a duty to prudently select covered service providers
  14   (“CSPs”). Courts that have considered the issue have made it clear that “the failure to
  15   exercise due care in selecting . . . a fund’s service providers constitutes a breach of a
  16   trustee’s fiduciary duty.” 28 U.S.C. § 1108(b)(2) states that services must be
  17   necessary for the plan’s operation. Department of Labor guidance has also
  18   emphasized the importance of prudently selecting service providers. 2 The DOL has
  19   observed that, when selecting a service provider, “the responsible plan fiduciary
  20   must engage in an objective process.” Id. Such a process must be “designed to elicit
  21   information necessary to assess . . . the reasonableness of the fees charged in light of
  22   the services provided.” Id.
  23           41.   Recordkeeping is a necessary service for every defined contribution
  24   plan. Recordkeeping services for a qualified retirement plan, like the Plan, are
  25   essentially fixed and largely automated. It is a system where costs are driven purely
  26   by the number of inputs and the number of transactions. In essence, it is a computer-
  27   based bookkeeping system.
  28   2
           DOL Info. Letter to Theodore Konshak (Dec. 1, 1997).
                                                      -10-
                                FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 14 of 52 Page ID #:203



   1         42.    The cost of recordkeeping and administrative services depends on the
   2   number of participants, not the amount of assets in the participant’s account.
   3         43.    The greatest cost incurred in incorporating a new retirement plan into a
   4   recordkeeper’s system is upfront setup costs. After the Plan account is set up,
   5   individual accounts are opened by entering the participant’s name, age, SSN, date of
   6   hire and marital status. The system also records the amount a participant wishes to
   7   contribute each pay period through automated payroll deductions. Participants can go
   8   on-line and change their contribution rate at any time.
   9         44.    Because the cost of recordkeeping services depends on the number of
  10   participants, not on the amount of assets in the participant’s account, the cost of
  11   providing recordkeeping services to a participant with a $100,000 account balance is
  12   the same for a participant with $1,000 in her retirement account.
  13         45.    Recordkeepers for defined contribution plans are generally compensated
  14   in two ways: First, through direct payments from the plan (participants) or employer;
  15   and second, through indirect payments via a practice known as revenue sharing.
  16         46.    In a revenue sharing arrangement, a mutual fund or other investment
  17   vehicle directs a portion of the expense ratio—the asset-based fees it charges to
  18   investors—to the 401(k) plan’s recordkeeper putatively for providing marketing,
  19   recordkeeping and administrative services for the mutual fund. These fees include
  20   Rule 12b-1 fees, which are paid by the Funds to the recordkeeper as compensation
  21   for its services and expenses in connection with the sale and distribution of Fund
  22   shares; shareholder service fees; and sub-transfer agency fees. The payments are not
  23   tied to actual expenses incurred by the recordkeeper for services rendered.
  24         47.    Because revenue sharing arrangements pay recordkeepers asset-based
  25   fees, prudent fiduciaries monitor the total amount of revenue sharing a recordkeeper
  26   receives to ensure that the recordkeeper is not receiving unreasonable compensation.
  27   A prudent fiduciary ensures that the recordkeeper rebates to the plan all revenue
  28   sharing payments that exceed a reasonable per participant recordkeeping fee that can
                                            -11-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 15 of 52 Page ID #:204



   1   be obtained from the recordkeeping market through competitive bids. Defendants did
   2   not do that here.
   3         48.    Nor were revenue sharing fees printed on the participants’ statements.
   4         49.    Because revenue sharing payments are asset-based, they bear no relation
   5   to the actual cost to provide services or the number of plan participants and can result
   6   in the payment of unreasonable recordkeeping fees. To put it another way,
   7   recordkeepers (or any other CSP) receiving unchecked revenue sharing
   8   compensation accrue significant ongoing pay increases simply as a result of
   9   participants putting money aside biweekly for retirement. Additional funds come
  10   from interest, dividends and capital gains.
  11         50.     Thus, for example, in 2017, the Plan paid Transamerica approximately
  12   $718,000 even though Transamerica had provided the same services for
  13   approximately $584,516 the year before.
  14         51.    Since 2016 the number of plan participants with account balances
  15   increased 20%, but the recordkeeping fees increased 35% over the same time period
  16   (through the end of 2021).
  17         52.    In 2013, Defendants chose Transamerica to serve as the Plan’s
  18   recordkeeper with Gallagher to serve as investment advisor from 2012 to the present.
  19         53.    Plaintiffs calculate the recordkeeping fees based on the direct and
  20   indirect compensation levels shown on thePlan’s Form 5500s filed with the
  21   Department of Labor covering the years between 2013 and 2021. The Form 5500
  22   Schedule C lists direct compensation dollars only, however, they make up less than
  23   half of the total compensation received by the Transamerica as calculated by the rate
  24   of each fund’s revenue sharing. The formula for the indirect compensation (revenue
  25   sharing) is provided in the Supplemental Schedule to the Notes to Financial
  26   Statements in each of the applicable Forms 5500.
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                                            -12-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 16 of 52 Page ID #:205



   1          54.    Based on these calculations, the Plan paid much more than a reasonable
   2   fee for Transamerica, resulting in the Plan paying millions of dollars in excessive
   3   fees as shown in the tables below.
   4
       Year                   2016      2017       2018       2019       2020       2021
   5   Per person             $237.32   $ 272.30   $ 245.88   $ 263.98   $ 267.69   $ 262.85
   6   recordkeeping fee

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                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 17 of 52 Page ID #:206



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  13         55.    Based on the number of Plan participants and the assets in the Plan, a
  14   reasonable recordkeeping fee for the Plan is approximately $40 per participant (15th
  15   Annual      NEPC    2020     Defined    Contribution    Plan    &     Fee    Survey:
  16   https://f.hubspotusercontent00.net/hubfs/2529352/2020%20DC%20Plan%20and%20
  17   Fee%20Survey/2020%20NEPC%20DC%20Plan%20Progress%20Report.pdf.
  18         56.    The WAICU Retirement Readiness Plan is a comparably sized plan to
  19   the Ventura Foods Plan that also receives recordkeeping services from Transamerica.
  20   In its 2021 Form 5500, the WAICU Plan indicates that it had 3,496 participants with
  21   account balances and approximately $404,000,000 in plan assets.
  22         57.    Based on the information in the WAICU plan’s 2021 Form 5500, it paid
  23   Transamerica $135,530 in direct compensation for recordkeeping services in 2021
  24   and did not pay any indirect compensation through revenue sharing as virtually all of
  25   the funds offered by the WAICU plan to its participants used the institutional share
  26   classes and no revenue sharing paid to Transamerica was disclosed.
  27         58.    Thus, the WAICU plan participants paid $38.77 per person to
  28   Transamerica for recordkeeping services in 2021.
                                           -14-
                          FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 18 of 52 Page ID #:207



   1         59.    In addition to Transamerica, there are numerous recordkeepers in the
   2   marketplace who are capable
   3   of providing a high level of service to the Plan, and who will readily respond to a
   4   request for proposal. These recordkeepers primarily differentiate themselves based
   5   on service and price, and vigorously compete for business by offering the best
   6   service for the best price.
   7         60.    The package of recordkeeping services the Plan received included
   8   standard recordkeeping services such as government reporting services, plan sponsor
   9   support services, recordkeeping services, and plan investment services and reporting.
  10         61.    The Plan did not receive any unique services or at a level of quality that
  11   would warrant fees far greater than the competitive fees that would be offered by
  12   other providers as the Plan was charged by Transamerica.
  13         62.    Plaintiffs requested but were not provided with “service provider
  14   contracts” which would allow Plaintiffs to identify the precise services provided by
  15   Transamerica.
  16         63.    However, recordkeeping services are largely standardized because the
  17   recordkeepers must provide these services at scale to a large number of plans and
  18   must comply with regulatory requirements.        They cannot offer bespoke sets of
  19   services to each individual plan.
  20         64.    The bulk of the fee paid for recordkeeping services pays for core
  21   recordkeeping services that do not vary from plan to plan.
  22         65.    In this regard, for large plans like this Plan, recordkeeping services are
  23   offered in a bundle with standardized services including, but not limited to,
  24   recordkeeping, transaction processing, participant communications, plan document
  25   services to ensure compliance with new legal and regulatory requirements, plan
  26   consulting services including regarding investment selection, accounting and audit
  27   services such as Form 5500 preparation, and compliance support and testing.
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                                             -15-
                            FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 19 of 52 Page ID #:208



   1         66.    Some other services may be added on an ad-hoc basis including, loan
   2   processing, brokerage services, distribution services, and processing of qualified
   3   domestic relations orders but the addition of such services would not have a dramatic
   4   impat on the cost of recordkeeping services.
   5         67.    Indeed the Plan itself is a standardized prototype (not individually
   6   drafted) like 99% of other plans. As indicated by the Plan auditors (Miller Kaplan
   7   LLC): “The Plan adopted a Prototype Volume Submitter 401(k) Profit Sharing Plan
   8   document sponsored by Transamerica Retirement Solutions, LLC, which received an
   9   opinion letter from the Internal Revenue Service dated March 31, 2014.”
  10         68.    The market for defined contribution recordkeeping services is highly
  11   competitive, particularly for a Plan like the Ventura Foods Plan with large numbers
  12   of participants and a large amount of assets.
  13         69.    The unreasonable fees paid to covered service providers through
  14   revenue sharing arrangements directly resulted from the Defendants’ choice of
  15   improper mutual fund share classes and failing to monitor the providers.
  16         70.    The mutual funds paid annual revenue sharing fees based on a
  17   percentage of the total Plan assets invested in the fund, which were ultimately paid
  18   by Plan participants who invested in those funds. The Plan participants realized
  19   lower returns on their investments because they paid higher fund operating expenses.
  20         71.    Plaintiffs were able to obtain a quote for Plan recordkeeping services
  21   from an unconflicted brokers who reviewed the Plan’s audit reporting detailing
  22   management’s depiction of the plan’s operation. The plan document and plan’s
  23   operation is discussed every plan year in the Form 5500 under “Note 1 – Description
  24   of the Plan.” All cash contributions were reviewed for the past six years as well as
  25   the payments to terminated employees. The investment menu was reviewed and the
  26   number of total accounts over time was reviewed.
  27         72.    This quote was provided on a per person basis rather than the asset-
  28   based recordkeeping fees the Plan paid to Transamerica, which as explain above,
                                            -16-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 20 of 52 Page ID #:209



   1   cause the Plan to pay excess fees as Plan assets increase that are not tied to the
   2   services provided.
   3         73.      The vendor was able to provide substantially lower prices for
   4   recordkeeping services than what Transamerica charged the Plan and consistent with
   5   ~$40/head reflected in the NEPC report.
   6
                            TRANSAMERICA                #         Total fees based on
   7                       Recordkeeping Fees     Participants     vendor quote at
                                                                        $41/head
   8                          $695,585.00            2829             $115,427.03
   9
  10         74.      Transamerica’s fees so far exceeded reasonable recordkeeping fees to
  11   the point that no differentiation in services could explain the level of recordkeeping
  12   fees paid by the Plan.
  13         75.      The clear explanation for this is that Defendants have a flawed and
  14   reckless provider selection process that is “tainted by failure of effort, competence,
  15   or loyalty.” Braden v. Wal-Mart Stores, 588 F.3d 585, 596 (8th Cir. 2009).
  16         76.      As discussed below, in most years, many of the funds offered to the
  17   participants had less expensive share classes available. Defendant’s use of higher
  18   cost share classes to pay service provider costs is the most inequitable, inefficient
  19   and expensive method available.
  20         77.      Defendants clearly failed to use the Plan’s bargaining power to
  21   leverage its CSPs to charge lower administrative fees for the Plan participants or by
  22   bidding the Plan out to other service providers.
  23         78.      Defendants further failed to take any or adequate action to monitor,
  24   evaluate or reduce their service provider fees, such as:
  25         a. Choosing mutual fund share classes with lower revenue sharing for the
  26               Plan;
  27         b. monitoring costs to compare with the costs being charged for similar sized
  28               plans in the marketplace; or
                                              -17-
                             FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 21 of 52 Page ID #:210



   1         c. negotiating to cap the amount of revenue sharing or ensure that any
   2               excessive amounts were returned to the Plan.
   3         79.      The amount of compensation paid to CSPs vastly exceeds any DOL
   4   and IRS prohibited transaction “reasonable compensation” exemption for “cost plus
   5   reasonable profit.”
   6         80.      In sum, the Plan unreasonably paid broker dealer intermediaries like
   7   Gallagher and Transamerica fees far in excess of what the Plan needed to pay for
   8   their services and these fees were not tethered to the actual services rendered, but
   9   rather increased based on revenue sharing of a larger corpus of Plan funds over time.
  10         81.      ERISA holds fiduciaries “to a high standard of care and diligence”
  11   regarding fees: Fiduciaries must, among other things, “[e]stablish a prudent process
  12   for selecting investment options and service providers”; “[e]nsure that fees paid to
  13   service providers and other plan expenses are reasonable in light of the level and
  14   quality of services provided”; and “[m]onitor investment options and service
  15   providers once selected to make sure they continue to be appropriate choices.”
  16   Additionally, The Department of Labor has consistently reminded ERISA fiduciaries
  17   of their responsivities to carefully evaluate fees when selecting plan investment
  18   options and then monitor fees on an ongoing basis. Defendants breached their
  19   fiduciary duties by failing to conduct themselves accordingly.
  20   B.    Defendants Caused the Plan Participants to Pay Excessive Fees and Lose
             Returns by Failing to Offer, Monitor, and Investigate Available Lower
  21
             Cost Mutual Share Classes as Plan Investment Options
  22         82.      An ERISA fiduciary’s evaluation of plan investments must be focused
  23   solely on economic considerations that have a material effect on the risk and return
  24   of an investment based on appropriate investment horizons, consistent with the
  25   plan’s funding policy and investment policy objectives. The corollary principle is
  26   that ERISA fiduciaries must never sacrifice investment returns, take on additional
  27   investment risk, or pay higher fees to promote non-pecuniary benefits or goals.
  28
                                              -18-
                             FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 22 of 52 Page ID #:211



   1         83.    A fiduciary may not subordinate the interests of the participants and
   2   beneficiaries in their retirement income or financial benefits under the plan to other
   3   objectives, and may not sacrifice investment return or take on additional investment
   4   risk to promote non-pecuniary benefits or goals such as to seek to burden
   5   participants/beneficiaries with fund expenses such as SEC Rule 12b-1 fees,
   6   subtransfer agency fees, shareholder servicing fees, commissions, finder’s
   7   (incentive) fees or other types of fees just so their selected covered service providers
   8   are paid from participants/beneficiaries.
   9         84.    The weight given to any pecuniary factor by a fiduciary should
  10   appropriately reflect a prudent assessment of its impact on risk-return. Revenue
  11   sharing always costs more (evidence follows) than the credit the Defendants are
  12   seeking to offset the receipt of an invoice by their chosen covered service providers.
  13         85.    In the context of ERISA retirement plans such interests must be
  14   understood to refer to “financial” rather than “nonpecuniary” benefits, and Federal
  15   appellate courts have described ERISA’s fiduciary duties as “the highest known to
  16   the law.”
  17         86.    Mutual funds make a profit by charging investors operating expenses,
  18   which are expressed as a percentage of the total assets in the fund. Operating
  19   expenses include fund management fees, marketing and distribution fees,
  20   administrative expenses and other costs.
  21         87.    Mutual funds often offer multiple “classes” of their shares to investors.
  22   Each class represents an identical interest in the mutual fund’s portfolio. The
  23   principal difference between the classes is that the mutual fund will charge different
  24   operating expenses depending on the class.
  25         88.    A mutual fund may charge an annual expense ratio of 1% of the gross
  26   assets of the fund to one share class, while charging a higher class share in that same
  27   fund an expense ratio of .50%. Thus, an investor who purchases the share class with
  28   a lower operating expense will realize a .50% greater annual return on his/her
                                            -19-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 23 of 52 Page ID #:212



   1   investment compared to an investor who purchases the share class with the higher
   2   operating expense. Generally, lower class shares are available to larger investors,
   3   such as 401(k) plans like the Plan.
   4          89.      Plans that invest their participants’ funds in lower share classes and
   5   subject them to higher fees engage in share class violations which are the most clear
   6   and obvious breaches of fiduciary duties in the Plan. See Tibble v. Edison, 2017 U.S.
   7   Dist. LEXIS 130806, *40 (C.D. Cal. Aug. 16, 2017) (“Because the institutional share
   8   classes are otherwise identical to the retail share classes, but with lower fees, a
   9   prudent fiduciary would know immediately that a switch is necessary.”).
  10          90.      Since at least 2016, Defendants have offered higher cost mutual fund
  11   share classes as investment options for the Plan even though at all times lower cost
  12   class shares of those exact same mutual funds were readily available to the Plan.
  13          91.      Indeed, Defendants have provided as many as 14 fund choices with
  14   clear share class violations.
  15          92.      Defendants selected the Plan’s investment options. In this case, on
  16   information and belief, Transamerica, the Plan’s recordkeeper, and Gallagher, the
  17   Plan’s investment advisor, provided Defendants with a universe of pooled
  18   investment options from which to select a subset to offer Plaintiff and the other Plan
  19   participants.
  20          93.      Defendants chose and continued to maintain a pool of investment
  21   options, including those offered by Transamerica and Gallagher at the expense of
  22   participants and beneficiaries of the Plan by routinely offering higher cost share
  23   classes rather than readily available lower cost options.
  24
                                             Summary Table
  25
                                                       2021   2020   2019   2018   2017   2016
  26    Total Funds #                                   32     31     31     31     31     32
        Cheaper Shares Classes Available #               8     11     12     13     13     14
  27
        Cheaper Shares Classes Available %             25%    35%    39%    42%    42%    44%
  28
                                               -20-
                              FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 24 of 52 Page ID #:213



   1         94.    Every fund invested in expensive share classes was imprudently
   2   selected and retained.    In this regard, evaluation of certain exemplar funds shows
   3   that Defendants’ selection and retention of expensive share classes reflected a lack of
   4   prudent processes because investing in expensive share classes causes return lags
   5   compared to investments in less expensive share classes and offers the Plan no
   6   pecuniary benefit and the Plan could easily have switched to the less expensive share
   7   classes but failed to do so.
   8         95.    The use of expensive share classes was likely motivated by an improper
   9   desire to hide fees from Plan participants by using revenue sharing to pay fees
  10   instead of directly drawing them from the Plan or Defendants being billed directly
  11   for the fees. But as demonstrated below, the fund invested in share classes that
  12   charged excess fees which created a drag on fund performance that was not justified
  13   by the desire to generate fees for revenue sharing.
  14      American Funds Small Cap World A—Lack of “experience and expertise”
  15         96.    As reflected in the Table below, the Defendants’ chose and kept the
  16   bolded “A” expensive class of the American Funds Small Cap World fund which
  17   also offered an identical but cheaper “R6” class in 2009.        The only difference
  18   between the share classes is the fees charged to investors and the concomitant
  19   reduction in investment gains for the higher fee share class.
  20         97.    The difference between the choice of the A Class and R6 class cannot
  21   be justified based on the need for revenue sharing because the A cost 1.1%/yr while
  22   the cheaper R6 cost 0.71%/yr (in 2016) and that difference exceeds the credit of
  23   0.24% in revenue-sharing for 12b-1 fees.
  24         98.    Second, the yield difference caused losses to the Plan greater than the
  25   revenue-sharing credit of 0.24 %/yr. Plaintiffs and putative class made 74.12% over
  26   the past 5 years while the Defendants caused them to lose the opportunity to make
  27   another 3.46% (74.12-77.58). That equals 0.69% per year which vastly exceeds the
  28   Defendants’ desired revenue-sharing credit of 0.24%/yr.
                                             -21-
                            FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 25 of 52 Page ID #:214



   1                    A                     B         D           E         F          G           H
                                                                Inception   5-Year   Yield 12-   SEC 30-Day
   2                  Name                  Symbol   *Diff>RS
                                                                  Date       Total    Month        Yield
   3     American Funds SMALLCAP World A
                                            SMCWX    14.824     4/30/1990   74.12      0.35         0.04
                       (Defs’)
   4     American Funds SMALLCAP World R6
                                            RLLGX    15.516     5/1/2009    77.58      0.71         0.39
                   (cheaper, same)
   5
   6          99.    Based on SEC-prospectus at www.sec.gov/edgar, (1) minimum
   7   investment amounts were waived for qualified retirement plans (QRP) and “omnibus
   8   trusts” and (2) these classes above could have been “switched” anytime by the
   9   Defendants These two classes have always used the same managers, with the same
  10   holdings (Denning/Kawaja/Grace/Lee; start date 12/31/1991). The only difference is
  11   that the more expensive share class performed worse because of the excess fee
  12   burden.
  13          100. A prudent fiduciary would have recognized that the investment in an
  14   expensive share class was directly eroding the Plan’s gains from the investments and
  15   would have switched to the cheaper share class.
  16          101. Other fiduciaries in similar circumstances have migrated Plan funds to
  17   cheaper share classes in recognition of the fact that investment in the more expensive
  18   share class is not in the pecuniary interest of the Plan.
  19          102. This holds true for all of the funds where Defendants selected a more
  20   expensive share class.
  21          103. Rather than benefiting the Plan, the use of expensive share classes
  22   benefits the investment advisor at the expense of the Plan because it generates excess
  23   fees which are only partially rebated over a period of time to the Plan and may also
  24   generate additional kickbacks to the investment advisor.
  25          104. A prudent fiduciary would have recognized that the investment in an
  26   expensive share class was directly eroding the Plan’s gains from the investments and
  27   would have switched to the cheaper share class.
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                                               -22-
                              FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 26 of 52 Page ID #:215



   1           105. Other fiduciaries in similar circumstances have migrated Plan funds to
   2   cheaper share classes in recognition of the fact that investment in the more expensive
   3   share class is not in the pecuniary interest of the Plan.
   4           106. The following chart illustrates the differences in the operating costs and
   5   returns between the share classes chosen by Defendants and the least expensive share
   6   class available as of January 1, 2016 for funds that were in the Plan during the entire
   7   six year period ending December 31, 2021.
   8           107. The fund name listed in the first row and shaded grey represents the
   9   share class chosen by Defendants. The second fund name listed and not shaded
  10   represents the cheaper share class Defendants should have chosen which was
  11   available to them throughout the duration of the Plan. The bolded line represents the
  12   difference in costs (expenses charged), 12-month yield and the investment returns for
  13   the one- and annualized three- and five-year – and six year performance periods
  14   ending 12/31/2021.
  15           108.       Additionally, to highlight the harm caused by the Defendants’
  16   imprudent selection of high-cost share classes, the three-five-six- year cumulative
  17   returns are included, which shows the compounding effect of excess fees paid over
  18   the course of each year.
  19
                              COST OF EXPENSIVE SHARE CLASSS FOR FUNDS IN PLAN
  20                                  THROUGHOUT ENTIRE CLASS PERIOD
                                           Cumulative (Total) Returns
  21                                           (Ending 12/31/21)
                                                                                                 Returns Lost
  22                                                                                              for Using
                          Expense    1-Year    3-Year   3-Year   6-Year   6-Year   2016 BOY       Expensive
  23   Name               Ratio %    % Total    Total   % / 3*    Total   % / 6*     Assets      Share Class
       T. Rowe Price
  24   Blue Chip
       Growth Advisor
  25   (2016)              0.95       17.39    104.44            185.22            $31,413,361
       T. Rowe Price
  26   Blue Chip
       Growth I            0.56       17.85    106.88            192.16
  27            Cost of
            Expensive                                                                                        -
  28     Share Classes     -0.39      -0.46    -2.45    -0.82    -6.94    -1.16                  $2,180,449.45

                                                    -23-
                                   FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 27 of 52 Page ID #:216



                                                                                                Returns Lost
   1                                                                                             for Using
                          Expense    1-Year    3-Year   3-Year   6-Year   6-Year   2016 BOY      Expensive
   2   Name               Ratio %    % Total    Total   % / 3*    Total   % / 6*     Assets     Share Class
       Columbia
   3   Dividend
       Income A
   4   (2013)              0.92       25.99    73.16             125.08            $8,762,426
       Columbia
   5   Dividend
       Income Inst3        0.56       26.45    75.08             130.33
   6            Cost of
             Expensive
   7     Share Classes     -0.36      -0.46    -1.92    -0.64    -5.25    -0.88                 -$459,830.04
       Janus
   8   Henderson
       Enterprise A
   9   (2016)              1.13       16.97    89.03             162.73            $1,164,004
       Janus
  10   Henderson
       Enterprise N        0.66       17.50    91.61             170.02
  11
  12        Cost of
          Expensive
  13    Share Classes      -0.47      -0.53    -2.59    -0.86    -7.29    -1.22                  -$84,834.42
       Virtus Ceredex
  14   Mid-Cap Value
       Equity A (2012)     1.28       28.73    68.15             106.00            $1,516,084
  15   Virtus Ceredex
       Mid-Cap Value
  16   Equity R6           0.79       29.34    70.76             113.00
                Cost of
  17         Expensive
         Share Classes     -0.49      -0.61    -2.61    -0.87    -7.00    -1.17                 -$106,125.97
  18   Janus
       Henderson
  19   Triton A (2012)     1.29       6.74     75.02             130.79            $2,926,037
       Janus
  20   Henderson
       Triton N            0.66       7.21     77.40             137.16
  21            Cost of
             Expensive
  22     Share Classes     -0.63      -0.47    -2.38    -0.79    -6.37    -1.06                 -$186,421.39
       American
  23   Funds
       Europacific
  24   Growth A
       (2009)              0.80       2.50     62.39             81.23             $7,834,729
       American
  25   Funds
       Europacific
  26   Growth R6           0.46       2.84     64.11             85.04
  27          Cost of
           Expensive
  28    Share Classes      -0.34      -0.33    -1.73    -0.58    -3.81    -0.64                 -$298,547.91

                                                    -24-
                                   FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 28 of 52 Page ID #:217



                                                                                                                Returns Lost
   1                                                                                                             for Using
                          Expense      1-Year       3-Year      3-Year     6-Year      6-Year     2016 BOY       Expensive
   2   Name               Ratio %      % Total       Total      % / 3*      Total      % / 6*       Assets      Share Class
       American
   3   Funds
       SMALLCAP
   4   World A (2009)        1.02        10.27       98.16                  140.03                $23,196,859
       American
   5   Funds
       SMALLCAP
   6   World R6              0.65        10.66       100.39                 145.41
               Cost of
   7        Expensive                                                                                                       -
         Share Classes      -0.37        -0.39       -2.22       -0.74      -5.39        -.90                   $1,249,367.05
   8   Invesco
       Developing
   9   Markets A
       (2012)                1.20        -7.50       34.44                  70.16                  $1,343,651
  10   Invesco
       Developing
  11   Markets R6            0.81        -7.13       36.08                  74.42

  12
                Cost of
  13        Expensive
         Share Classes      -0.39        -0.37       -1.64       -0.55      -4.26       -0.71                     -$57,278.67
  14   American
       Funds Income
  15   Fund of Amer
       A (2009)              0.56        17.38       46.52                  74.30                  $6,434,545
  16   American
       Funds Income
  17   Fund of Amer
       R6                    0.25        17.73       47.86                  77.42
  18            Cost of
            Expensive
  19     Share Classes      -0.31        -0.35       -1.33       -0.44      -3.12       -0.52                   -$200,905.22
       * The 3-Year %/3 and 6-Year %/6 figures illustrate that the cost to participants in lost
  20   returns is typically greater than the charged annual expenses. This lost return
       differential is not adequately expressed in the annualized figures.
  21
                109. Defendants may seek to explain that they offered higher cost share
  22
       classes with higher fee burdens by pointing to the Plan’s ability to use those fees for
  23
       revenue sharing arrangements. But this does not justify the increased fees and lost
  24
       returns imposed on Plan participants. Rather, empirically speaking, revenue sharing
  25
       burdens on mutual fund investors are always more costly than the revenue sharing
  26
       credit offered by the corresponding mutual fund share class.
  27
  28
                                                     -25-
                                    FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 29 of 52 Page ID #:218



   1         110. In other words, investing Plan assets in higher cost share classes does
   2   not benefit plan participants because it causes them to pay excess indirect fees which
   3   are not tethered to any service provided to Plan participants but rather are tied to the
   4   amounts invested by Plan participants.
   5         111. The use of share classes to create funds for revenue sharing does not
   6   justify the increased fees and lost returns imposed on Plan participants. Rather,
   7   empirically speaking, revenue sharing burdens on mutual fund investors are always
   8   more costly over time than the revenue sharing credit offered by the corresponding
   9   mutual fund share class.
  10         112. In addition, because rebates are only made after a set period of time, the
  11   Plan effectively lends out the rebated funds until such time as the rebate comes
  12   through, rather than keeping them in the Trust and accruing gains during that time.
  13         113. Moreover, Plan participants are generally not aware of the fee burden
  14   that their 401k accounts bear from indirect fees. Unlike direct fees, which are clearly
  15   listed on participants’ statements, indirect fees are unshown and unknown to those
  16   paying those costs.
  17         114. Indeed, because not all funds generate fees for revenue sharing, only
  18   those participants invested in the revenue sharing funds pay for the revenue sharing
  19   and the other participants get a free ride – which is impermissible discrimination
  20   against participants.
  21         115. Likewise, the rebate formula used may not equitably return funds to
  22   participants if participants make withdrawals or transfer out of the fun prior to the
  23   credit being posted.
  24         116. Further, by focusing on funds with expensive share classes that
  25   generated high funds for revenue sharing, the Plan limited the universe of funds
  26   available for selection and selects funds based on revenue generating share classes as
  27   opposed to the best interests of the Plan itself.
  28
                                               -26-
                              FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 30 of 52 Page ID #:219



   1         117. Because the Plan could have invested in identical mutual funds with a
   2   lower cost share class, the Defendants’ actions were directly erosive to the trust’s
   3   growth.
   4         118.   Defendants thus caused Plan participants/beneficiaries harm by not just
   5   forcing them to pay higher fees, but also caused lost yield and returns as a result of
   6   those higher fees on many of the mutual funds offered through the Plan. The erosive
   7   effect of excessive fees and the resulting lost returns compounds over time
   8   substantially lowering the corpus of participants’ retirement investments.
   9         119. In selecting share classes with higher fees, Defendants demonstrated a
  10   lack of basic skill and prudence when selecting investments.
  11         120.   Not only did the Defendants fail to use the Plan’s bargaining power to
  12   leverage lower cost mutual fund options for the Plan participants, they did not need
  13   to as the fund assets qualified them to meet any minimum initial investment
  14   requirements. Furthermore, to the extent they did not explicitly meet the minimum
  15   asset requirement, many mutual fund companies will waive those requirements in
  16   qualified plans.
  17         121. Lastly, the information available for Defendants to make an informed
  18   assessment as to costs and returns available for each share class and to make the
  19   assessments noted above was made available in each fund’s annual prospectus at the
  20   time the choices were made and Defendants also could and should have had
  21   processes in place to monitor the share classes of the Plan’s investments but failed to
  22   put in place such processes.
  23         122. The Defendants’ actions to choose high-cost funds demonstrates a lack
  24   of prudence. For example, as shown in the chart above, the T. Rowe Price Blue Chip
  25   Growth expensive share class had fees of ninety-five basis points (0.95%/yr) as
  26   opposed to the share class with lower fees of fifty-six basis points (0.56%/yr). The
  27   total fees paid for the share class with higher fees was therefore thirty-nine basis
  28   points per year (0.39%/yr).
                                            -27-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 31 of 52 Page ID #:220



   1         123. In other words, Defendants caused Plan participants who invested in
   2   that T. Rowe Price fund to pay .39% more in fees than necessary and permitted
   3   plan’s contracted recordkeeper and/or financial advisor to collect a portion of those
   4   increased fees.
   5         124.      Additionally, an analysis of each attribute of the different share classes
   6   reveals that there is no difference between the share classes other than costs and
   7   performance returns as a consequence of costs, all borne by the participants.
   8         125. Wasting the trust’s money (i.e., participants/beneficiaries’ money)
   9   violates subsections (A), (B) and (D) of ERISA Section 404(a)(1) above. In devising
  10   and implementing strategies for the investment and management of trust assets,
  11   trustees are obligated to “minimize costs.”        Uniform Prudent Investor Act (the
  12   “UPIA”) §7.
  13         126. As is evident from the allegations in the Complaint, Defendants did not
  14   systemically and regularly review or institute other processes in place to fulfill their
  15   continuing obligation to monitor Plan investments and reduce Plan costs, or, in the
  16   alternative, failed to follow the processes, as evidenced by the offering of higher cost
  17   share classes as Plan investment options when lower cost options of the same funds
  18   were available.
  19         127.      A prudent fiduciary conducting an impartial review of the Plan’s
  20   investments would have identified the cheaper share classes available and transferred
  21   the Plan’s investments in the above-referenced funds into the lower share classes at
  22   the earliest opportunity. The total amount of excess mutual fund expenses paid by
  23   Plan participants over the past six years, which correspondingly reduced the return
  24   on the Plan participants’ investments, resulted in millions of dollars of damages to
  25   participants.
  26   //
  27
       //
  28
                                              -28-
                             FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 32 of 52 Page ID #:221



   1   C.     Defendants Maintained Imprudent Funds that Fell Below the Reasonable
              Standard of Care and Which Lagged in Benchmark Comparisons
   2
              128. Mutual fund portfolio managers choose a benchmark index to use in
   3
       their prospectus as a comparison for evaluating fund performance often referred to as
   4
       the Primary Prospectus Benchmark (“PPBM”).
   5
              129. However, in addition to the PPBM selected by the fund managers
   6
       themselves, third parties may provide more appropriate comparators for each fund
   7
       than the fund-selected comparator.
   8
              130. Morningstar, Inc. (“Morningstar”) is one such third party and a
   9
       respected financial services company that provides research and analytics that are
  10
       used throughout the asset management industry.
  11
              131. In 1996, Morningstar created category classifications to help investors
  12
       make meaningful comparisons between mutual funds.
  13
              132.   “Morningstar found that the investment objective listed in a fund’s
  14
       prospectus often did not adequately explain how the fund actually invested” and
  15
       Morningstar “solved this problem by breaking portfolios into peer groups based on
  16
       their holdings” which “help investors identify the top performing funds, assess
  17
       potential risk, and build well-diversified portfolios.” 3
  18
              133. Per Morningstar,
  19
              [t]he driving principles behind the classification system are as follows:
  20
            • Individual portfolios within a category invest in similar types of
  21
              securities and therefore share the same risk factors (for example, style
  22          risk, prepayment risk).
  23        • Individual portfolios within a category can, in general, be expected to
              behave more similarly to one another than to portfolios outside the
  24          category.
  25        • The aggregate performance of different categories differs materially
              over time.
  26
  27
       3 http://morningstardirect.morningstar.com/clientcomm/morningstar_categories_us_a
  28
       pril_2016.pdf
                                             -29-
                            FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 33 of 52 Page ID #:222



   1       • Categories have enough constituents to form the basis for reasonable
             peer group comparisons.
   2       • The distinctions between categories are meaningful to investors and
   3         assist in their pursuit of investing goals. 4
   4         134. Critically, Morningstar determined that funds may select broad-based

   5   market comparators as their primary benchmark and that the funds may reflect a

   6   “low degree of correlation” with the corresponding benchmark. 5

   7         135. In order to provide a better measure of fund performance, Morningstar

   8   publishes data on each fund’s performance compared to Morningstar selected

   9   benchmarks.

  10         136. First, the Morningstar Category Index (“MCI”) is a category specific

  11   index that allows investors and advisors to compare fund performance to benchmarks

  12   that may be a better fit to the true makeup of a fund than the fund-selected PPBM.

  13         137.    MCIs are commonly used as comparators in investment selection,

  14   monitoring and reporting tools used by investment managers and 401(k) investment

  15   committees. MCI comparisons can be beneficial because they typically represent the

  16   weighted returns of the vast majority of investments within a specific asset-class (i.e.

  17   large-cap growth or small-cap value) which allows those selecting and monitoring

  18   investments to better identify risk and return derivations between the mutual funds

  19   they are reviewing.

  20         138. Second, Morningstar selects a Best-Fit Index (“BFI”) for each fund

  21   based on the composition of the fund over the prior 36-month period. 6 Because the

  22   fund is highly correlated to its BFI, comparison of a fund to its BFI makes it is easier

  23   to determine how much of a fund’s movements are based on the movements of the

  24   index, the relative level of risk a portfolio manager is taking, and ultimately whether

  25   a portfolio manager is adding value.

  26   4
         Id.
  27   5
         https://www.morningstar.com/articles/372237/understanding-best-fit-versus-
       standard-indexes
  28   6
         Id.
                                              -30-
                             FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 34 of 52 Page ID #:223



   1              139. The MCI and BFI are strong comparators and useful tools for evaluating
   2   fund performance because portfolio managers of funds with the same investment
   3   purpose make buy and sell decisions based on the same pool of investments (stocks
   4   and/or bonds). These benchmarks help investors determine whether a specific
   5   portfolio manager has skill determining what assets to hold within that pool and how
   6   much to over/underweight certain investments and when to buy and sell.
   7              140. When evaluating fund performance, a prudent fiduciary considers data
   8   on a fund’s performance against all relevant benchmarks including its MCI and BFI
   9   when evaluating fund performance because those comparators evaluate whether the
  10   fund is performing well based on the actual purpose and design of the fund.
  11              141. Here, as demonstrated in the charts below, several of the funds offered
  12   by     the Plan during the statutory period showed poor performance during the
  13   statutory period as compared to both their MCI and BFI.
  14              Challenged Funds’ Cumulative Returns vs Best Fit Index1
  15
                                                                                   +/- BFI
  16                                                                                 For       Cost to
                                                                      +/- BFI      Prior Six   Participants
  17    Year          Year                             Best-Fit         since        Year      during Prior Six
       Selected     Removed   Ticker   Fund Name       Index (BFI)   Selection 2    Period     Year Period 3
  18
  19                                                   Morningstar
                                       T. Rowe Price   US LM Brd
  20                                   Blue Chip       Growth TR
           2016     In Plan   PABGX    Growth Adv      USD 7          (24.22)      (24.22)       ($7,606,843.06)
  21                                   Invesco         MSCI EM
           2012     In Plan   ODMAX    (Oppenheimer)   NR USD 8        11.66        (7.90)         ($106,081.33)
  22
       7
         Morningstar US Large-Mid Broad Growth TR (BFI) is an appropriate benchmark comparison for
  23
       T. Rowe Price Blue Chip Growth because the fund’s investment strategy is to “normally invest at
  24   least 80% of its net assets (including any borrowings for investment purposes) in the common
       stocks of large and medium-sized blue chip growth companies.” Nine of T. Rowe’s top 10 holdings
  25   are in Morningstar’s top 11 and account for 54% of the fund’s assets. Eighty-four percent (84%) of
       the fund’s assets are similarly allocated across the same 12 sectors.
  26
       8
        MSCI EM NR (PPBM, BFI and MCI) is an appropriate benchmark comparison for Invesco
  27   Developing Markets because the fund chose the index as its prospectus benchmark, it was
  28   determined by Morningstar to be the best-fit and it is used to compare all funds within the
       emerging markets assets class. Seventy-eight percent (78%) of the funds are assets are invested in
                                                      -31-
                            FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 35 of 52 Page ID #:224



                                                                                   +/- BFI
   1                                                                                 For       Cost to
                                                                      +/- BFI      Prior Six   Participants
   2    Year        Year                              Best-Fit          since        Year      during Prior Six
       Selected   Removed    Ticker   Fund Name       Index (BFI)    Selection 2    Period     Year Period 3
   3                                  Developing
                                      Markets A
   4                                  Oakmark
                                      Equity and      Russell Mid
   5                                  Income          Cap Value
           2009    2019     OAKBX     Investor        TR USD           (5.41)       (2.39)         ($391,020.41)
   6
                                                                                                 ($8,103,944.80)
   7
   8   Challenged Funds’ Cumulative Returns vs Morningstar® Category Index1

   9
                                                                                   +/- MCI
  10                                                                                 For       Cost to
                                                      Morningstar     +/- MCI      Prior Six   Participants
  11    Year        Year                              Category          since        Year      during Prior Six
       Selected   Removed    Ticker   Fund Name       Index (MCI)    Selection 2    Period     Year Period 3
  12                                  T. Rowe Price   Russell 1000
                                      Blue Chip       Growth TR
  13       2016   In Plan   PABGX     Growth Adv      USD 9           (45.74)      (45.74)      ($14,367,521.70)

  14
  15
  16
  17
  18                                  Invesco
                                      (Oppenheimer)
  19                                  Developing      MSCI EM
           2012   In Plan   ODMAX     Markets A       NR USD           11.66        (7.90)         ($106,081.33)
  20
  21   the same regions as its prospectus benchmark and 84% of its assets are similarly allocated across
       the same 12 sectors. Additionally, MSCI EM NR is used in the fee disclosure notices offered to the
  22   plan sponsor and plan participants, as well as the fund’s own fact sheet available to all investors.
  23   9
         Russell 1000 Growth TR (MCI) is also an appropriate benchmark comparison for T. Rowe Price
  24   Blue Chip Growth. The MCI is the most commonly used benchmark to compare funds within the
       same asset class (i.e. large growth) and can help identify fund managers that have exhibited skill as
  25   well as those that have not. As with the Morningstar benchmark, the assets of T. Rowe are invested
       similarly to the Russell 1000 Growth. Eight of T. Rowe’s top 10 holdings are in Russell’s top ten
  26   and account for 52% of the fund’s assets. Eighty-three percent (83%) of the fund’s assets are
  27   similarly allocated across the same 12 sectors. Additionally, Russell 1000 Growth is used in the fee
       disclosure notices offered to the plan sponsor and plan participants, as well as the fund’s own fact
  28   sheet available to all investors.

                                               -32-
                              FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 36 of 52 Page ID #:225



                                                                                         +/- MCI
   1                                                                                       For       Cost to
                                                            Morningstar     +/- MCI      Prior Six   Participants
   2    Year           Year                                 Category          since        Year      during Prior Six
       Selected      Removed   Ticker     Fund Name         Index (MCI)    Selection 2    Period     Year Period 3
   3                                      Oakmark           Morningstar
                                          Equity and        Mod Agg
   4                                      Income            Tgt Risk TR
            2009      2019     OAKBX      Investor          USD 10            (1.81)      (2.15)         ($351,013.27)
   5
                                                                                                      ($14,824,616.30)
   6
       1) Table based on data through 12/31/2021
   7   2) “Since selection” is based on year selected through the last full year held in the plan
       3) Based on 2016 beginning year assets
   8               142. As shown in the tables above, Defendants breached their duty to the
   9   Plan to engage in an ongoing process to cull poorly performing funds from the Plan
  10   resulting in millions of dollars of losses to the Plan.
  11               143. For example, a prudent fiduciary would not have continued to invest the
  12   Plan’s funds in the T. Rowe Price Blue Chip Growth Fund and would have offered a
  13   different growth investment option rather than subjecting participants to continue to
  14   suffer losses.
  15               144. In this regard, the T. Rowe Price Blue Chip Growth fund had a single
  16   highly regarded manager from 1993 until 2021. The fund had already begun to
  17   perform poorly in 2019, trailing its MCI by 6.77%. As early as 2020, it was reported
  18   that this long-time manager would transition out of the fund in the near future and
  19   new fund manager began to take the reigns as associate portfolio manager at the
  20   beginning of 2020.
  21               145. This should have sent up a red flag. Indeed, in August of 2020,
  22   Morningstar downgraded the fund.
  23               146. The fund has, in fact, performed poorly during and since the transition,
  24   including trailing its MCI by 4.13% in 2020 and 10.21% in 2021.
  25
  26   10
         Given the great diversity in the investable options in the Allocation –70% to 85% Equity asset
  27   class Morningstar Mod Agg Tgt Risk is an appropriate benchmark comparison for Oakmark Equity
       and Income as it is the most commonly used benchmark to compare funds within this specific asset
  28   class.

                                                 -33-
                                FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 37 of 52 Page ID #:226



   1         147. The fund likewise underperformed other comparable funds as
   2   determined by Morningstar, performing in the 4th quartile for its Morningstar
   3   category in 2016 and again in the 4th quartile in 2019 and the 3rd quartile in 2021.
   4         148. Currently, Morningstar has assigned a 2 star rating to the fund. The
   5   funds 3-year performance is rated as a dreadful single star, with a 2 star 5-year
   6   performance ranking and only a 3-star 10-year performance ranking.
   7         149. Rather than gambling on the fund’s uncertain future success, a prudent
   8   fiduciary would have removed the fund based on its poor performance and/or new
   9   management during the statutory period.
  10         150. Instead, Defendants have continued to maintain the Plan’s investment in
  11   the fund through at least November 30, 2022.
  12         151. During the course of 2022, the fund was down 38.64% and performed
  13   in nearly the bottom 10% of its Morningstar category. Accordingly, Defendants
  14   continued refusal to make the prudent move of removing the fund has caused further
  15   damages to the Plan. On top of this, as discussed above, the Plan has improperly
  16   maintained a more expensive share class causing Plan participants who invested in
  17   this fund to pay excessive fees.
  18         152. As of March 31, 2023 the fund ranks in the bottom quartile and nearly
  19   bottom decile in its Morningstar category for the year.
  20         153. Likewise, the Plan fiduciaries should have removed the Invesco
  21   (Oppenheimer) Developing Markets fund from the Plan based on consistent and
  22   longstanding underperformance.
  23         154. The fund, which has a single benchmark as its PPBM, BFI, and MCI,
  24   underperformed its benchmark during the Class Period.
  25         155. This underperformance began in 2014 and included years of
  26   underperformance in 2016, 2017, 2020, 2021, and continuing through 2022.
  27         156. During that time, the fund was in the 4th quartile for performance in its
  28   Morningstar category in 2014 and 2021 and thus far in 2022, and in the 3rd quartile
                                            -34-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 38 of 52 Page ID #:227



   1   in 2015-17 and was in the 3rd or 4th quartile for 4 straight years from 2014-17.
   2   These poor peer rankings serve to emphasize that it would not have been difficult to
   3   identify a more prudent investment option.
   4         157. On top of this, as discussed above, the Plan has improperly maintained a
   5   more expensive share class causing Plan participants who invested in this fund to pay
   6   excessive fees.
   7         158. So too, the Oakmark Equity and Income Investor fund should have been
   8   removed from the Plan prior to 2019 when it was finally removed.
   9         159. The fund lagged its PPBM, MCI, and BFI during the Class Period.
  10         160. It also had a number of years of poor performance prior to and during
  11   the Class Period and appeared in the third and fourth quartile compared to its
  12   Morningstar category peers in 2009 (4th), 2010 (4th), 2012 (4th), 2015 (4th), 2017
  13   (3rd), 2018 (3rd), and 2019 (4th).
  14         161. On top of this, the Plan improperly maintained a more expensive share
  15   class causing Plan participants who invested in this fund to pay excessive fees.
  16         162. Defendants have a continuing duty to evaluate the Plan funds and
  17   remove underperforming funds.
  18         163. Defendants were or should have been aware of the continuous
  19   underperformance of the funds enumerated in the charts and discussed above and
  20   removed the funds from the Plan.
  21         164. Defendants’ failure to remove these funds from the Plan reflects either
  22   that Defendants failed to put in place a prudent investment monitoring process or
  23   failed to engage in that process.
  24         165. Accordingly, Defendants breached their fiduciary duties by failing to
  25   remove the funds resulting in financial losses to the Plan and its participants.
  26   //
  27
  28
                                            -35-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 39 of 52 Page ID #:228



   1   D.     Defendants Imprudently Maintained the Plan’s Investment in the
              Prudential Guaranteed Income Stable Value Fund, When Other
   2          Investment Vendors Offered Superior Alternatives
   3          166.    The Prudential Guaranteed Income Stable Value Fund (Guaranteed
   4   Investment Account or “GIC”)) is a type of stable value fund.
   5          167. Stable value products, including guaranteed investment contracts, are
   6   not required to be registered with the SEC. Single Company fixed annuity contracts
   7   are structured as an insurance company general account, or an insurance company
   8   separate account, and are solely regulated by the State Insurance Commissioner
   9   selected by the insurance company. There are also synthetic based stable value
  10   funds, which are run by a Registered Investment Advisor (RIA) regulated by the
  11   SEC.    The differences between the different types of funds are critical from a
  12   fiduciary standpoint.      The Prudential GIC was an insurance company general
  13   account product.
  14          168. A stable value account in a retirement plan is (i) similar to a money
  15   market fund in that it provides principal protection, and (ii) similar to a bond fund in
  16   that it provides higher consistent returns over time. Stable value funds are able to do
  17   this because participant behavior is such that the amount of money invested in the
  18   account is relatively stable over time. It differs from both in that it seeks to generate
  19   returns greater than a money market and equivalent to a short – to intermediate –
  20   term bond fund.       The stability of assets enables fund providers to offer better
  21   crediting rates (the rate of return) and to guarantee participants will not lose money
  22   by ensuring the fund transacts at book value. Stable value accounts also “stabilize”
  23   the returns through the use of an imbedded formula which is part of the contract with
  24   the plan that smooths out the volatility of the fund that results from fluctuations in
  25   interest rates associated with bond funds. 11 Single fixed annuity contracts are set by
  26
  27   11
          See Stable Value Fund v. Money Market Fund, Financial Web describing difference between
  28   stable value funds and money market funds), available at: http://www.finweb.com/investing/stable-
       value-fund-vs-money-marketfund/html#axzz44EaLfQnQ.
                                                     -36-
                              FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 40 of 52 Page ID #:229



   1   the insurance company at their discretion which typically maximizes profit to the
   2   insurance company and minimizes returns to participants which is a fiduciary breach.
   3          169. There are several different types of stable value accounts in the 401(k)
   4   marketplace. Large plans often offer “synthetic” stable value funds, which are the
   5   least risky, because principal is guaranteed by multiple “wrap providers” 12 and the
   6   fund owns the assets of the underlying funds. Separate account products, where the
   7   assets of the underlying funds are held in the separate account of an insurance carrier
   8   are riskier, because there is only one “wrap” provider. As a result, they offer higher
   9   crediting rates. General account products, such as the Prudential GIC, where the
  10   funds are held unrestricted in the general account of the insurance carrier, are the
  11   riskiest type of stable value funds and consequently offer the highest rates.
  12          170. While the majority of plans the size of Defendants use a lower risk
  13   synthetic stable value product, there are still some Separate Account and General
  14   Account products.
  15          171. The Prudential GIC is a general account product established pursuant to
  16   a contract between Defendants and Prudential. The investment funds are deposited
  17   by Prudential in its general account, which enables Prudential to earn a “spread”
  18   representing by the difference between the crediting rate and the returns earned by
  19   Prudential from general account funds. The Prudential GIC also was subject to the
  20   single entity credit risk of Prudential, the issuer of the contract. The crediting rate, set
  21   in advance by Prudential and reset from time to time in Prudential’s sole discretion,
  22   is not tied to the performance of a diversified pool of assets in which the investors in
  23   the fund have an interest. Thus, Defendants had the opportunity and duty to evaluate
  24   the investment in advance; this is not a case of judging an investment with the
  25   benefit of hindsight.
  26
       12
         Stable value funds invest in fixed-income securities and wrap contracts offered by banks and
  27   insurance companies. Wrap contracts guarantee a certain return even if the underlying investments
  28   decline in value. To support that guarantee, a wrap contract relies on both the value of the
       associated assets and the financial backing of the wrap issuer.
                                                        -37-
                               FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 41 of 52 Page ID #:230



   1           172. As an ERISA fiduciary, Defendants had an obligation to monitor the
   2   fees and performance of the Prudential GIC and to remove or replace it where a
   3   substantially identical investment option can be obtained from the same provider at a
   4   lower cost. See, e.g., Tibble v. Edison Int’l, 843 F.3d 1187, 1198 (9th Cir. 2016)
   5   (“[A] trustee cannot ignore the power the trust wields to obtain favorable investment
   6   products, particularly when those products are substantially identical -- other than
   7   their lower cost -- to products the trustee has already selected.”).
   8           1.     Prudential’s Excessive Spread Fees
   9           173. Defendants did not have a viable methodology for monitoring the costs
  10   or performance of the Prudential GIC. Not only were comparable products available
  11   from other providers with higher crediting rates, but identical or substantially
  12   identical products were available to Defendants from Prudential and other stable
  13   value providers with higher crediting rates and lower spread fees. While not all
  14   information is publicly available for comparison purposes, 13 limited documentation
  15   for the second half of 2022 showed a 1.55% crediting rate paid by Prudential to Plan
  16   participants; while at the end of 2021, Prudential paid over double, a crediting rate of
  17   3.2%, for the same product to participants in the Cigna 401(k) Plan.
  18           174. The 1.55% crediting rate paid to the Plan participants by Prudential was
  19   one of the lowest crediting rates paid to a plan by any GIC in the second half of
  20   2022.
  21           175. Higher spread fees result in lower crediting rates. This difference, more
  22   than 2% per year on average, is the excess spread that Defendants failed to monitor
  23   and rectify. Taking inflation into account, the difference in real dollar terms was
  24   13
         In September 2010 the trade group for State Government 401(k) plans, the National Association
  25   of Government Defined Contribution Administrators, (NAGDCA), created a brochure with the
       following characterization of insurance company general account stable value funds. “Due to the
  26   fact that the plan sponsor does not own the underlying investments, the portfolio holdings,
       performance, risk, and management fees are generally not disclosed. This limits the ability of plan
  27   sponsors to compare returns with other SVFs [stable-value funds]. It also makes it nearly
  28   impossible for plan sponsors to know the fees (which can be increased without disclosure) paid by
       participants in these funds—a critical component of a fiduciary’s responsibility.”
                                                       -38-
                               FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 42 of 52 Page ID #:231



   1   even more pronounced, with real (net of inflation) returns for the Defendants’ fund
   2   near zero.
   3         176. Defendants did not have to scour the marketplace to find a better
   4   performing fund, it simply had to make an effort, which it failed to make, to
   5   determine whether the same fund was available at a lower cost. Fact sheets showing
   6   the available rates of market rate Prudential funds and similar products from other
   7   providers were readily available had Defendants exercised even a minimal amount of
   8   due diligence.
   9         177. This breach of fiduciary duty alone resulted in a loss (before
  10   compounding) in excess of $5 million of participants’ retirement savings. This loss is
  11   something a competent, prudent, and diligent fiduciary would have known was
  12   happening in advance and would have been able to avoid. There is a crucial
  13   distinction in evaluating a stable value product’s returns against investment returns
  14   available elsewhere, from the standpoint of how a fiduciary’s choice is to be
  15   evaluated. The product’s performance over the life of the product is guaranteed for a
  16   period at the outset. The plan fiduciary knows prior to the date the product is selected
  17   what the returns will be six months in advance.
  18         178. The plan fiduciary also knows that, because of the manner in which
  19   crediting rates are calculated, the product is less sensitive to interest rates than bond
  20   funds. Consequently, a stable value product that performs well generally continues to
  21   perform well, in a stable manner. A stable value product that performs poorly, such
  22   as Defendants’ product, generally continues to perform poorly, in a stable manner.
  23         179. A prudent fiduciary – that is, a fiduciary that monitors the investment,
  24   understands the pricing mechanism and informs itself of the crediting rates and
  25   spread fees available in the market – would have known that Prudential’s stable
  26   value product would underperform and that being a stable value product it would
  27   continue to underperform in a stable manner.
  28
                                            -39-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 43 of 52 Page ID #:232



   1         180. Defendants could have done substantially better for participants with
   2   other substantially identical risky insurance separate account products. In addition,
   3   as set forth in more detail below, there are substantially similar risky insurance
   4   separate account products such as some from Mass Mutual with over double the
   5   return of 4% and higher which are far more cost efficient.
   6         2.     Failure to Submit RFP’s
   7         181. A plan with a $44 million stable value fund has considerable bargaining
   8   power in the marketplace. There are any number of stable value products available to
   9   plans with a $44 million stable value fund that are simply not available to plans with
  10   funds of a smaller size.
  11         182. To take advantage of this bargaining power, Defendants should have
  12   also submitted requests for proposal to other stable value fund providers. Products
  13   from any number of providers were available with better products, lower fees, and
  14   higher crediting rates. For example, at the end of 2022, TIAA-CREF Retirement
  15   Choice paid 6.50%, over 4 times higher than Prudential’s 1.55% crediting rate, for a
  16   similar product.
  17         183. Other plans with stable value assets of this size have bid out their stable
  18   value funds and obtained better products. Upon information and belief, Defendants
  19   did not make a regular practice of submitting requests for proposal for the stable
  20   value fund. Thus, Defendants were not able to take advantage of better rates. As a
  21   result, participants sustained substantial losses during the proposed class period.
  22         3.     Failure to Diversify
  23         184. The funds invested in the Prudential GIC stable value account were also
  24   not adequately diversified. The risk and return characteristic of the fund depended
  25   entirely on the creditworthiness and rates declared by a single entity, Prudential.
  26         185. ERISA § 1104(a)(1)(C) provides that a fiduciary shall discharge his
  27   duties “by diversifying the investments of the plan so as to minimize the risk of large
  28   losses, unless under the circumstances it is clearly prudent not to do so.”
                                            -40-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 44 of 52 Page ID #:233



   1         186. The Prudential Guaranteed Interest stable value fund is not diversified.
   2   The Prudential GIC is a contract, a piece of paper, subject to the single entity credit
   3   risk of Prudential, as the issuer of the contract. The return of the investment depends
   4   on crediting rates set at the discretion of a single provider, Prudential. The crediting
   5   rate, set by Prudential alone, is not tied to the performance of a diversified pool of
   6   assets in which the investors in the fund have an interest.
   7         187. In recent years, large 401(k) plans fled fixed annuity products backed by
   8   the general account of a single insurance company due to concerns about single
   9   entity credit and liquidity risk. Following the high-profile default failures of GIC
  10   Issuers in 1992 and 1993 by Executive and Confederation Life, the Federal Reserve
  11   expressed concerns about the high risk of the insurance company general account
  12   products and the flimsy nature of the state guarantees backing the insurance
  13   contracts. The industry immediately responded by offering more separate account
  14   contracts, which put creditors in line ahead of general account contracts but still
  15   resulted in 100% single entity credit and liquidity exposure. Synthetic value was
  16   created in 1995 and by 1999, most of the largest plans were in a synthetic based
  17   stable value fund. Synthetic Stable value continued to gain market share over the
  18   next 20 years going into smaller and smaller plans.
  19         188. For example, in the “Notes to Financial Statements” attached to
  20   Defendants’ 2021 5500 Form, p. 10, Note 7 – Guaranteed Income Fund, there is a
  21   warning that “[t]he Plan’s ability to receive amounts is dependent on PRIAC’s
  22   (Prudential Retirement Insurance and Annuity’s) ability to meet its financial
  23   obligation. There are no reserves against contract value for credit loss. Certain
  24   events might limit the ability of the Plan to transact at contract value include
  25   premature termination of Plan investments in the Guaranteed Investment Account.”
  26         189. If Defendants were going to continue to offer a stable value fund, the
  27   most prudent choice would be for Defendants to move to a low-cost lower risk
  28   synthetic GIC structure. Further, Defendants should have specifically negotiated in
                                            -41-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 45 of 52 Page ID #:234



   1   the contract that Prudential was a fiduciary and that it could exit at no costs if
   2   Prudential was downgraded for any reason.          The single entity annuity contract
   3   constrained liquidity and the ability to replace it without incurring exit charges.
   4          190. Defendants breached their fiduciary duty by offering the unnecessarily
   5   risky Prudential GIC product and by offering a share class that did not maximize
   6   Plan Participants’ returns.
   7                            CLASS ACTION ALLEGATIONS
   8          191. Plaintiff brings this action in a representative capacity on behalf of the
   9   Plan and as a class action pursuant to Rule 23 of the Federal Rules of Civil
  10   Procedure on behalf of themselves and a Class defined as follows:
  11          192. All participants in or beneficiaries of the VENTURA FOODS 401(K)
  12   PLAN from six years prior to the filing of the complaint in this matter through the
  13   date of judgment (the “Class Period”).
  14          193. The members of the Class are so numerous that joinder of all members
  15   is impracticable. The disposition of their claims in a class action will provide
  16   substantial benefits to the parties and the Court. The Plan has approximately 3,000
  17   participants with account balances.
  18          194. Questions of law and fact common to the members of the Class
  19   predominate over questions that may affect individual class members, including,
  20   inter alia:
  21          (a) whether Defendants are fiduciaries of the Plan;
  22          (b) whether Defendants breached their fiduciary duty of prudence with
  23          respect to the Plan;
  24          (c) whether Defendants had a duty to monitor other fiduciaries of the Plan;
  25          (d) whether Defendants breached their duty to monitor other fiduciaries of
  26          the Plan; and
  27          (e) the extent of damage sustained by Class members and the appropriate
  28          measure of damages.
                                               -42-
                              FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 46 of 52 Page ID #:235



   1         195. Plaintiff’s claims are typical of those of the Class because their claims
   2   arise from the same event, practice and/or course of conduct as other members of
   3   the Class.
   4         196. Plaintiff will adequately protect the interests of the Class and has
   5   retained counsel experienced in class action litigation in general and ERISA class
   6   actions involving fiduciary breaches in particular.
   7         197. Plaintiff has no interests that conflict with those of the Class.
   8   Defendant does not have any unique defenses against Plaintiff that would interfere
   9   with their representation of the Class.
  10         198. A class action is superior to other available methods for the fair and
  11   efficient adjudication of this controversy. Joinder of all participants and
  12   beneficiaries is impracticable, the losses suffered by individual participants and
  13   beneficiaries may be too small for individual members to enforce their rights
  14   through individual actions, and the common questions of law and fact predominate
  15   over individual questions. Given the nature of the allegations, no class member has
  16   an interest in individually controlling the prosecution of this matter, and Plaintiffs
  17   are not aware of any difficulties likely to be encountered in the management of this
  18   matter as a class action.
  19                               FIRST CAUSE OF ACTION
  20                          Breach of Fiduciary Duty of Prudence
  21                                 (Against All Defendants)
  22         199. Plaintiff repeats and realleges the above paragraphs as though fully set
  23   forth herein.
  24         200. Defendants were fiduciaries of the Plan under ERISA §§ 3(21) and/or
  25   402(a)(1), 29 U.S.C. §§1002(21) and/or 1102(a)(1) and under common law trust
  26   law because they were either designated in the Plan documents as the Plan
  27   Administrator, a named fiduciary under the Plan, performed discretionary Plan-
  28   related fiduciary functions, including the selection and monitoring of investment
                                            -43-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 47 of 52 Page ID #:236



   1   options for the Plan, and/or the negotiation over services and fees for the Plan,
   2   and/or were responsible for the administration and operation of the Plan.
   3           201. As a fiduciary of the Plan, Defendants were required, pursuant to
   4   ERISA § 404(a)(1), 29 U.S.C. §1104(a)(1) and common law, to act: “(A) for the
   5   exclusive purpose of: (i) providing benefits to participants and their beneficiaries;
   6   and (ii) defraying reasonable expenses of administering the plan”; and “(B) to
   7   discharge their duties on an ongoing basis with the care, skill, prudence, and
   8   diligence under the circumstances then prevailing that a prudent man acting in a like
   9   capacity and familiar with such matters would use in the conduct of an enterprise of
  10   a like character and with like aims.”
  11           202. Common law and ERISA’s duty of prudence required Defendant to give
  12   appropriate consideration to those facts and circumstances that, given the scope of its
  13   fiduciary investment duties, it knew or should have known were relevant to the
  14   particular investments of the Plan and to act accordingly. See 29 C.F.R. §
  15   2550.404a-1. The Supreme Court has concluded that this duty is “a continuing duty
  16   to monitor [plan] investments and remove imprudent ones.” Tibble, 135 S. Ct. at
  17   1828.
  18           203. As described above, Defendants failed to act prudently and in the best
  19   interest of the Plan and its participants and breached its fiduciary duties in various
  20   ways. Defendants failed to make decisions regarding the Plan’s investment lineup
  21   based solely on the merits of each investment and what was in the best interest of
  22   Plan participants. Defendants selected and retained investment options in the Plan
  23   despite their high cost and poor performance relative to other comparable
  24   investments and failed to investigate the availability of lower-cost share classes of
  25   certain mutual funds in the Plan. A prudent fiduciary in possession of this
  26   information would have removed these investment options, replaced them with more
  27   prudent and lower cost alternatives, and/or used the size, leverage and bargaining
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                                            -44-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 48 of 52 Page ID #:237



   1   power of the Plan to secure significantly reduced fees for comparable investment
   2   strategies.
   3          204. In addition, Defendants failed to monitor or control excessive
   4   compensation paid for recordkeeping services which resulted from the unnecessary
   5   payment of recordkeeping and other services both directly and as a percentage of
   6   assets.
   7          205. In addition, Defendants failed to monitor or control excessive
   8   compensation paid for shareholder or financial advising services which resulted from
   9   the unnecessary payment of those services as a percentage of assets.
  10          206. Defendants knowingly participated in each fiduciary breach of the other
  11   Plan fiduciaries, knowing that such acts were a breach, and enabled the other Plan
  12   fiduciaries to commit fiduciary breaches by failing to lawfully discharge their own
  13   duties. Defendants knew of the fiduciary breaches of the other Plan fiduciaries and
  14   failed to make any reasonable and timely effort under the circumstances to remedy
  15   the breaches. Accordingly, each defendant is also liable for the losses caused by the
  16   breaches of its co-fiduciaries under 29 U.S.C. § 1105(a).
  17          207. As a direct and proximate result of these breaches, the Plan, Plaintiff
  18   and members of the Putative Class suffered substantial losses in the form of higher
  19   fees or lower returns on their investments than they would have otherwise
  20   experienced. Additionally and regardless of the losses incurred by Plaintiff or any
  21   member of the Class, pursuant to ERISA §§ 502(a)(2) and (a)(3), and 409(a), 29
  22   U.S.C. §§ 1132(a)(2) and (a)(3), and 1109(a), and common law trusts, Defendants
  23   and any non-fiduciary which knowingly participated in these breaches are liable to
  24   disgorge all profits made as a result of Defendant’s breaches of the duties of loyalty
  25   and prudence, and such other appropriate equitable relief as the Court deems proper.
  26   //
  27   //
  28   //
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                          FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 49 of 52 Page ID #:238



   1                             SECOND CAUSE OF ACTION
   2     Breach of Fiduciary Duties in Violation of Duty to Investigate and Monitor
   3                       Investments and Covered Service Providers
   4                                 (Against All Defendants)
   5         208. Plaintiff repeats and realleges the above paragraphs as though fully set
   6   forth herein.
   7         209. Defendants had overall oversight responsibility for the Plan and control
   8   over the Plan’s investment options through its authority to limit or remove the other
   9   Plan fiduciaries.
  10         210. A monitoring fiduciary must ensure that the monitored fiduciaries are
  11   performing their fiduciary obligations, including those with respect to the investment
  12   and monitoring of plan assets, and must take prompt and effective action to protect
  13   the Plan and participants when the monitored fiduciaries fail to perform their
  14   fiduciary obligations in accordance with ERISA and common law trusts.
  15         211. Defendants also had a duty to ensure that other Plan fiduciaries
  16   possessed the needed qualifications and experience to carry out their duties (or used
  17   qualified advisors and service providers to fulfill their duties); had adequate financial
  18   resources and information; maintained adequate records of the information on which
  19   they based their decisions and analysis with respect to the Plan’s investments; and
  20   reported regularly to Defendant.
  21         212.      Defendants breached their fiduciary monitoring duties by, among
  22   other things:
  23         (a) failing to monitor and evaluate the performance of other Plan fiduciaries
  24         or have a system in place for doing so, standing idly by as the Plan suffered
  25         losses as a result of other Plan fiduciaries’ election to continue to pay fees
  26         that were significantly higher than what the Plan could have paid for
  27         substantially identical investment products readily available elsewhere, as
  28         detailed herein;
                                             -46-
                            FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 50 of 52 Page ID #:239



   1         (b) failing to monitor the processes by which the Plan’s investments were
   2         evaluated, which would have alerted a prudent fiduciary to the excessive
   3         costs being incurred in the Plan to the substantial detriment of the Plan and
   4         the Plan’s participants’ retirement savings, including Plaintiff and members
   5         of the Class; and
   6         (c) failing to remove fiduciaries whose performance was inadequate, as they
   7         continued to maintain expensive and poorly performing investments in the
   8         Plan, all to the detriment of the Plan and Plan participants’ retirement
   9         savings;
  10         (d) failing to institute competitive bidding for covered service providers.
  11         213.    As a direct and proximate result of these breaches of the duty to
  12   monitor the Plan, Plaintiff and members of the Class suffered millions of dollars of
  13   losses. Had Defendant complied with its fiduciary obligations, the Plan would not
  14   have suffered these losses, and Plan participants would have had more money
  15   available to them for their retirement.
  16         214. Pursuant to ERISA § 502(a)(2) and (a)(3), and ERISA § 409(a), 29
  17   U.S.C. § 1132(a)(2) and (a)(3), and 29 U.S.C. § 1109(a), Defendant is liable to
  18   disgorge all fees received from the Plan, directly or indirectly, and profits thereon,
  19   and restore all losses suffered by the Plan caused by its breach of the duty to monitor,
  20   and such other appropriate equitable relief as the Court deems proper.
  21                                 PRAYER FOR RELIEF
  22         Plaintiff, on behalf of the Plan and all similarly situated Plan participants and
  23   beneficiaries, respectfully requests the Court:
  24             • Certify the Class, appoint Plaintiff as class representative, and appoint
  25                Christina Humphrey Law, P.C. and Tower Legal Group, P.C. as Class
  26                Counsel;
  27             • Find and declare that Defendants have breached their fiduciary duties
  28                as described above;
                                            -47-
                           FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 51 of 52 Page ID #:240



   1           • Find and adjudge that Defendants are liable to make good to the Plan
   2              all losses to the Plan resulting from each breach of their fiduciary
   3              duties, and to otherwise restore the Plan to the position it would have
   4              occupied but for the breaches of their fiduciary duties;
   5           • Determine the method by which Plan losses under 29 U.S.C. § 1109(a)
   6              should be calculated;
   7           • Order Defendants to provide an accounting necessary to determine the
   8              amounts Defendants must make good the Plan under § 1109(a);
   9           • Impose a constructive trust on any monies by which Defendants were
  10              unjustly enriched as a result of breaches of fiduciary duty or prohibited
  11              transactions, and cause Defendants to disgorge such monies and return
  12              them to the Plan;
  13           • Surcharge against Defendants and in favor of the Plan all amounts
  14              involved in any transactions which an accounting reveals were
  15              improper, excessive, and/or in violation of ERISA;
  16           • Order equitable restitution against Defendants;
  17           • Award to Plaintiff and the Class their attorney’s fees and costs under
  18              29 U.S.C. § 1132(g)(1) and the common fund doctrine;
  19           • Order the payment of interest to the extent it is allowed by law; and
  20           • Grant other equitable or remedial relief as the Court deems
  21              appropriate.
  22
  23   PLAINTIFF DEMANDS A TRIAL BY JURY OF ALL ISSUES SO TRIABLE
  24                                      BY LAW.
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                                          -48-
                         FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:22-cv-02290-JWH-JDE Document 23 Filed 04/12/23 Page 52 of 52 Page ID #:241



   1   Dated: April 12, 2023            CHRISTINA HUMPHREY LAW, P.C.
                                        TOWER LEGAL GROUP, P.C.
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   4
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                                          -49-
                         FIRST AMENDED CLASS ACTION COMPLAINT
